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                             United States District Court
                                       for the
                             Southern District of Florida

   United States of America,              )
   Plaintiff                              )
                                            Criminal Case No. 16-20088-CR-
                                          )
                                            Scola
   v.                                     )
                                          )
                                            Inmate No. 13092-104
   Martha Lima,                           )
   Defendant.                             )
         Order on Defendant’s Motion for Release of Lien on Property
         Now before the Court is the interested parties’ motion for release of lien on
  property. (ECF No. 132.) This matter was before the Court for a telephonic
  hearing on May 26, 2020 and an evidentiary hearing via videoconference on June
  26, 2020. After considering the parties’ argument, the record, the written
  submissions, and the relevant legal authorities, the Court denies the
  Defendant’s motion (ECF No. 138).
         The Defendant Luis Lima pled guilty to conspiracy to commit wire fraud
  and wire fraud, and the Court sentenced him to 60 months in prison and ordered
  him to pay $16,298,000.00 plus interest in restitution. Lima agreed to forfeit his
  interest in ten properties, including 2026 NW 7th Street, Miami, FL 33125 (“the
  property”). Ultimately the Government declined to pursue forfeiture of the
  property. (ECF No. 138 at 2.) However, the Government recorded its Notice of
  Lien for Fine and/or Restitution in Book 30744, Page 3862, of the Public Records
  of Miami-Dade County, Florida. (ECF No. 138 at 2.) The Notice states that the
  lien is “in favor of the United States upon all property belonging to the person
  fined or ordered to pay restitution.” (Id.)
         On March 20, 2019, Luis Lima conveyed the property to his girlfriend
  Noemi Anet Estrada De Armas (“Estrada”) for $10.00 via Quit Claim deed. (Id.)
  Estrada’s son Dagoberto Dominguez paid $5,839.13 in past due property taxes
  for the years 2016, 2017, and 2018. (Id.) Estrada now intends to sell the
  property, and she, Dominguez, and his girlfriend Darling Duarte (collectively
  “interested parties”) now file this motion to release the restitution lien arguing
  that the Government abandoned its claim to Mr. Lima’s interest in the property
  when it determined that the land had no value. The Court does not agree.
         A restitution judgment creates a lien in favor of the United States on all of
  the defendant’s property. 18 U.S.C. § 3613(c). This lien is perfected once a Notice
  of Lien has been filed with the Clerk of Courts in the county where the real
  property lies. Real estate transfers do not affect an existing restitution lien.
  United States v. De Cespedes, 603 Fed. App’x 769, 772 (11th Cir. 2015) (“And
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  the transfer of De Cespedes’s interest to Lazaro did not affect the existing
  restitution lien attached to the property because ‘it is of the very nature and
  essence of a lien, that no matter into whose hands the property goes, it passes
  cum onere’”).
         The interested parties do not cite any authority holding that a federal
  restitution lien attached to an equitable interest in real property is extinguished
  if the interest is transferred, nor any authority holding that the Government’s
  decision not to forfeit a property extinguishes a restitution lien. To the contrary,
  the interested parties cite to United States v. Zhuang, a case from the Central
  District of California where the government recorded a restitution lien on the
  defendant’s property even though it did not seek to forfeit that property. 2019
  WL 7882086, at *4 (C.D. Cal. Dec. 10, 2019) (“the government’s decision to
  record an MVRA lien on the San Dimas property is not inconsistent with its
  representations, made during Yeung’s criminal proceedings, that the
  government ‘agrees not to seek forfeiture of the San Dimas property in connection
  with this case’”).
         To the extent that the interested parties argue that the Government is
  equitably estopped from maintaining a restitution lien, their argument fails. In
  addition to the traditional elements of estoppel, “when estoppel is sought against
  the government, there must be affirmative misconduct (not mere negligence) and
  a serious injustice outweighing the damage to the public interest of estopping
  the government.” Id. at *3 (determining that the government’s failure to explain
  that even though the property would not be forfeited, it will be subject to a
  restitution lien is not affirmative misconduct warranting estoppel); see also Sanz
  v. U.S. Sec. Ins. Co., 328 F.3d 1314, 1320 (11th Cir. 2003) (“to demonstrate that
  he is entitled to assert equitable estoppel against the Government, he must
  establish the traditional requirements for equitable estoppel and that the
  Government engaged in affirmative and egregious misconduct”). Here, there are
  no allegations of affirmative or egregious Government misconduct, and therefore
  any argument that the Government is equitably estopped fails.
         Finally, Estrada cannot claim status as a bona fide purchaser because she
  was on notice of the Government’s lien at the time that the property was
  transferred to her. A bona fide purchaser is “one who buys something for value
  without notice of another’s claim to the property.” In re Hedrick, 524 F.3d 1175,
  1181 (11th Cir. 2008). “Whether an event is enough to put a purchaser on notice
  is determined by state law.” Id. Under Florida law, publicly recording the lien
  puts a purchaser on actual notice. See DGG Development Corp. v. Estate of
  Capponi, 983 So. 2d 1332, 1234 (Fla. 5th DCA 2008) (“[s]uccessors in title take
  title subject to those interests of which they have notice. Forms of notice include
  possession, actual notice and constructive notice of publicly-recorded matters.”).
         In sum, the Court denies the interested parties’ motion for release of lien
  on property (ECF No. 138).
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        Done and Ordered in Chambers at Miami, Florida, on June 29, 2020.


                                           ______________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
